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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

THIS DOCUMENT RELATES TO
ALL CLASS ACTIONS

MDL No. 1456
CIVIL ACTION: 01-CV-12257-PBS
Judge Patti B. Saris

PLAINTIFFS' SUR-REPLY TO DEFENDANTS'
CONSOLIDATED MOTION TO DISMISS

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I. THE MEANING OF AWP IS A QUESTION OF FACT THAT CAN BE RESOLVED
BY THIS COURT BUT NOT ON A MOTION TO DISMISS

Defendants continue to insist that, notwithstanding the fact that Congress used the phrase
“average wholesale price” in 42 U.S.C. § 1395u(o)(1), the Court cannot interpret the phrase and,
moreover, the phrase is simply impossible to define. Defs. Reply Mem. at 3-7. This is contrary
to over a century of United States Supreme Court jurisprudence originating with the seminal
phrase penned by Chief Justice Marshall that “[i]t is emphatically the province and duty of the
judicial department to say what the law is.” Marbury v. Madison, 5 U.S. 137, 178 (1803).
Indeed, when Congress leaves a term in a statute undefined, it is the duty of the federal courts to
construe the term “in accordance with its ordinary or natural meaning.” FDIC vy. Meyer, 510
U.S. 471, 476 (1994) (referring to BLACK’S LAW DICTIONARY to define the word “cognizable,”
which Congress left undefined in 28 U.S.C. § 1346(b)); see also Smith v. United States, 508 U.S.
223, 228 (1993) (referring to both BLACK’S LAW DICTIONARY and WEBSTER’S NEW
INTERNATIONAL DICTIONARY to define the word “use,”’ which Congress left undefined in 18
U.S.C. § 924(c)(1).).

It thus borders on frivolity for Defendants to perpetuate the myth that this Court is
powerless to engage in statutory construction — using the many tools at the Court’s disposal — to
determine the true meaning of AWP. Defendants would have the Court believe that the meaning
of AWP is a policy decision that should be left to Congress for future determination, but the
point is that Congress has already chosen not to define “average wholesale price,” thereby
indicating an intent for the ordinary and natural meaning of the words to apply.

Defendants continue to rely on the inapposite case of Stephenson v. Shalala, 87 F.3d 350
(9" Cir. 1996), where the plaintiffs challenged HHS’ interpretation of a Medicare law that
permitted hospitals to charge “customary” rates even though Congress and HHS had long
adopted and maintained the “customary” rate regime (and had expressly decided not to require

HHS to establish a national rate structure advocated by plaintiffs). Jd. at 355-56. In contrast,

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Plaintiffs here do not challenge any Congressional decision and merely ask that the Court engage
in a simple act of statutory construction. Plaintiffs simply do not challenge Congress’s adoption
of AWP as the base upon which Medicare reimbursements are made.

Defendants also recycle a series of conflicting statements about the meaning of AWP,
which of course merely confirms that a factual dispute exists that cannot be resolved on a motion
to dismiss. For example, Defendants claim that Congress knew that AWPs were often well
above provider acquisition costs, Defs. Reply Mem. at 4, yet Defendants inform the Court that
the Administrator of the Centers for Medicare & Medicaid recently defined AWP as “the average
price at which wholesalers sell drugs to their customers, which include physicians and
pharmacies.” Defs. Mem., Ex. 27 at 5; see also Defs. Mem., Ex. 31 (“within the pharmaceutical
industry, AWP means non-discounted list price”) (HHS-IG Report). Defendants’ 53 other
extraneous exhibits, which purport to reflect three decades of legislative and regulatory history,
also create more fact issues than they resolve.'

At the appropriate time, and after considering all of the relevant evidence, the Court will
interpret the meaning of AWP. But this is not the appropriate time given Defendants’ parade of
conflicting documents. For now, Plaintiffs’ MCC controls, and the MCC squarely alleges that
AWP does not mean fictitious AWPs reported by Defendants in a deliberate scheme to cause

Plaintiffs and the Class members to overpay for drugs. F.g., {J 3, 6-7,137, 153, 1592

' Contrary to Defendants’ assertion, Plaintiffs never asserted that the Court could not review legislative
materials. See Defs. Reply Mem. at 2-3. Plaintiffs simply asserted that the Court should not take judicial notice of
documents that either lead to, or themselves contain, conflicting factual inferences, for “‘a court may not take judicial
notice of a fact that is “subject to reasonable dispute.” In re Warfarin Sodium Antitrust Litig., 214 F.3d 395, 398 (3d
Cir. 2000); see also Roeder v. Alpha Indus., Inc., 814 F.2d 22, 25 (1st Cir. 1987) (‘In ruling on a motion to dismiss, .
. .a court should not decide questions of fact.”). Defendants do not even attempt to dispute this well-accepted rule.

* Plaintiffs are confident that when the Court ultimately interprets the meaning of AWP, it will do so ina
manner that makes quite clear that Congress intended AWP to be a real average of real prices. As Plaintiffs outlined
in their opposition brief, the word “average” can mean “a mean proportion, medial sum or quantity, made out of
unequal sums or quantities.” BLACK’S LAW DICTIONARY at 135 (6" ed.) (hereinafter “Black’s”), or simply “typical”
or “usual.” AMERICAN HERITAGE DICTIONARY at 144 (2d ed. 1991). Black’s defines “wholesale price” as “that
which retailer pays in expectation of obtaining higher price by way of profit from resale to ultimate consumer.”
Black’s at 1597. Read together and applied to this context, the natural, ordinary and familiar meaning of “average
wholesale price” is a mean proportion or medial, or a typical or usual, amount that intermediaries pay before resale
to the ultimate consumers. This conclusion matches Administrator Scully’s testimony that “the AWP is intended to
represent the average price at which wholesalers sell drugs to their customers, which include physicians and
pharmacies.” See Defs. Mem., Exh. 27 at 5.

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Finally, and notwithstanding Plaintiffs’ challenge to Defendants to submit their own
definition of AWP, Defendants steadfastly refuse to do so, resoundingly demonstrating that

Defendants do, indeed, have much to hide.
II. THE COMPLAINT PROPERLY ALLEGES RICO VIOLATIONS

A. Plaintiffs’ Allegations Describing The Association-In-Fact Enterprises Satisfy
Supreme Court And First Circuit Precedent

In reply, Defendants once again attack Plaintiffs’ RICO “enterprise” allegations, claiming
that the association-in-fact enterprises described in J] 346-350 (Count I), §{] 375-377 (Count II),
{| 402-404 (Count III), and {J 429-431 (Count IV) do not meet the requirements for proving an
enterprise set forth by the Supreme Court in United States v. Turkette, 452 U.S. 576, 583 (1981).
Defs. Reply Memo. at 7-11. Once again, Defendants are wrong.

In Turkette, a criminal RICO prosecution, the alleged enterprise was described in the
indictment as “a group of individuals associated in fact for the purpose of illegally trafficking in
narcotics and other dangerous drugs, committing arsons, utilizing the United States mails to
defraud insurance companies, bribing and attempting to bribe local police officers, and corruptly
influencing and attempting to corruptly influence the outcome of state court proceedings. . . .”
452 U.S. at 579. Reversing the decision of the First Circuit, the Supreme Court held that the
“enterprise” concept encompasses both legitimate and illegitimate enterprises. /d. at 581-87. In
the portion of the opinion cited by Defendants (see Defs. Reply Mem. at 7), Justice White wrote
that “[t]he enterprise is an entity, for present purposes a group of persons associated together for
a common purpose of engaging in a course of conduct.” /d. at 583. This element is “proved by
evidence of an ongoing organization, formal or informal, and by evidence that the various
associates function as a continuing unit.” Id. (emphasis added).

The First Circuit has stated that what “suffice[s] to show that an [association-in-fact]
enterprise exists” is evidence of “systemic linkage, such as overlapping leadership, structural

or financial ties, or continuing coordination.” Libertad v. Welch, 53 F.3d 428, 443 (1st Cir.

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1995) (emphasis added). On pages 7-11 of their reply, Defendants quote this language at least
five times, without acknowledging that plaintiffs enterprise allegations entirely satisfy this
standard. Paragraphs 346-350, 375-377, 402-404 and 429-431 are replete with allegations that
the members of the alleged association-in-fact enterprises have “financial ties” and that their
profit-oriented activities are subject to “continuing coordination” and communication. See, e.g.,
{41 349(a)-(3).°

In Libertad, the First Circuit affirmed the district court’s ruling granting summary
judgment as to certain anti-abortion protesters (both organizations and individuals) in a civil
RICO action. The appellate court found that the defendant organizations Rescue America,
Sacrificial Lambs of Christ and Pro-Life Rescue Team (“PLRT”) had only participated together
in one anti-abortion protest, which Chief Judge Torruella described as a “well-coordinated but
one-time activity of several similar but otherwise unconnected parties. ...” Jd. at 442.* Asto
Rescue America, PLRT and two affiliated individual defendants, however, the First Circuit

reached the opposite conclusion, holding that there was sufficient evidence that they “constitute

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or are part of an ‘association-in-fact’”” because they “shared information’ . . . on a regular basis,
by faxing and mailing [materials] to one another,” id., “share[d] common leaders or organizers . .

. [and] function[ed] as a continuing unit.” Jd. at 444.° Once again, plaintiffs’ enterprise

> Without reference to First Circuit authority, Defendants assert that the “members” of an association-in-fact
RICO enterprise must “know one another.” Defs. Reply Mem. at 8; see also id. at 9 (complaining that the alleged
members of the AWP and PBM Enterprises “don’t know one another”). No Supreme Court or First Circuit case so
holds and, as Senior Judge Pollack has stated, ‘a [RICO] defendant may be found liable even if he does not have
specific knowledge of every member and component of the enterprise.” In re Sumitomo Copper Litig., 104 F.
Supp. 2d 314, 318 (S.D.N.Y. 2000) (emphasis added; citation omitted).

Defendants also decry Plaintiffs’ reliance on the First Circuit’s decision in United States v. London, 66 F.3d
1227 (1st Cir. 1995), see Defs. Reply Mem. at 10, which upheld defendant’s RICO conviction, holding that London
and the businesses he operated had a “common or shared purpose,” namely, “doing commerce with (and thereby
profiting from)” bookmakers. 66 F.3d at 1244. Whether or not London is a “run-of-the-mill criminal case,” Defs.
Reply Mem. at 10, it is squarely on point, and Defendants cannot excuse their willful ignorance of it.

* Of course, in this case it cannot be gainsaid that Plaintiffs accuse Defendants of engaging in “one-time
activit[ies].”

> Accord United States v. Owens, 167 F.3d 739, 751 (1st Cir.) (affirming defendants’ RICO convictions arising
out of their operation of a large-scale cocaine distribution enterprise; the government produced sufficient evidence
of “systemic linkages” between two separate groups that ‘depended on one another both financially and
structurally’; “[t]hey regularly exchanged money for cocaine [and] coordinated in the transporting of cocaine to
Boston. .. .”), cert. denied, 528 U.S. 894 (1999).

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allegations are replete with allegations that the members of the association-in-fact enterprises had
what the First Circuit terms an “ongoing relationship,” id., that is characterized by ongoing
business dealings, attendance at meetings at professional organizations, and standardized
communications that are disseminated by Defendants. See, e.g., F{] 349(a)-(b), 353-354,
356(a)-(i).°

B. Plaintiffs Properly Allege That Defendants “Operated Or Managed” The Third-
Party Payor AWP Enterprises

Defendants also contend that Plaintiffs’ Section 1962(c) claims do not satisfy the
“operation or management” test elucidated by the Supreme Court in Reves v. Ernst & Young, 507
U.S. 170, 185 (1993), with regard to the Third-Party Payor AWP Enterprises described in { 351
(Count I), 7 378 (Count ID, ¥ 405 (Count III) and § 432 (Count IV). Defendants dispute
Plaintiffs’ reading of the First Circuit’s decision in Aetna Cas. Sur. Co. v. P&B Autobody, 43
F.3d 1546 (1st Cir. 1994), claiming that Aetna holds that the only way that an “outsider” can
operate or manage the affairs of a RICO enterprise “is through bribery or other internal

infiltration.” Defs. Reply Mem. at 11.’ But that was not the First Circuit’s holding in that case.

° Defendants inexplicably seek support in United States v. Patrick, 248 F.3d 11 (1st Cir. 2001), cert. denied,
534 U.S. 1043 (2002), a criminal RICO prosecution involving the members of a street gang. In that case, the First
Circuit affirmed defendants’ convictions, expressly rejecting their argument that Judge Keeton of this District
committed reversible error by refusing a requested jury instruction that “‘the enterprise must exhibit some sort of
structure for the making of decisions, whether it be hierarchical or consensual.” /d. at 18. One cannot reasonably
read the relevant portion of that opinion, and Judge Lynch’s relevant conclusion, see id. at 18-19, and draw from it
Defendants’ desired conclusion that “structure is required” for association-in-fact RICO enterprises. Defs. Reply
Mem. at 8. But if, as Defendants assert, see id. at 9, there must be allegations that the members of an association-in-
fact enterprise have “sessions” or meetings where “decisions” are made, they need only refer to {| 349(b) to find the
supposedly requisite allegation(s).

7 Defendants now acknowledge (which they did not do before) that there are “two types of enterprises: legal
entities and associations-in-fact.” Libertad, 53 F.3d at 441 (citing Turkette, 452 U.S. at 580-81). Plaintiffs allege
both types of RICO enterprises. In applying the “operation or management” test for § 1962(c) liability stated by the
Supreme Court in Reves, 507 U.S. at 185, this Court must take into account the “nature” of the enterprise alleged by
Plaintiffs. MCM Partners v. Andrews-Bartlett & Assocs., 62 F.3d 967, 979 (7th Cir. 1995). As the First Circuit has
explained:

Reves is a case about the liability of outsiders who may assist the enterprise's affairs. Special care
is required in translating Reves’ concern with “horizontal” connections--focusing on the liability of
an outside adviser--into the “vertical” question of how far RICO liability may extend within the
enterprise but down the organizational ladder. In our view, the reason the accountants were not
liable in Reves is that, while they were undeniably involved in the enterprise's decisions, they
neither made those decisions nor carried them out; in other words, the accountants were outside

the chain of command through which the enterprise's affairs were conducted.

United States v. Oreto, 37 F.3d 739, 759 (1st Cir. 1994) (emphasis in original). See also United States v. Shifman,
124 F.3d 31, 36 (Ist Cir. 1997). Thus, the First Circuit has narrowed the application of Reves by holding that the

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Addressing the sufficiency of the evidence supporting a jury verdict for the plaintiff insurer

(Aetna), the court stated in relevant part:

Contrary to the appellants’ assertion, there was sufficient evidence
for a reasonable jury to find that the defendants’ activities met the
definition of “participation” adopted by the Supreme Court in
Reves, which is known as the “operation or management” test.
Appraising allegedly damaged vehicles and investigating,
processing, and paying automobile insurance claims are vital parts
of Aetna's business. By acting with purpose to cause Aetna to
make payments on false claims, appellants were participating in
the “operation” of Aetna.

The Supreme Court in Reves interpreted the phrase “conduct of the
enterprise’s affairs” to indicate a “degree of direction,” which the
court described as taking “some part in directing the enterprise’s
affairs.” The evidence was sufficient to support a finding that the
individual Arsenal defendants' activities affected, in a material
degree, the direction of Aetna's affairs by employees of Aetna.
Appellants’ activities caused Aetna employees having authority to
do so to direct that other employees make payments Aetna
otherwise would not have made. The Court in Reves emphasized
that, as in this case, the defendants’ “participation” could be
“indirect” in the sense that persons with no formal position in the
enterprise can be held liable under § 1962(c) for “participating in
the conduct of the enterprise’s affairs.” Jd. The evidence was
sufficient to support a finding that each of the appellants
participated in the conduct of Aetna’s affairs in this way.

43 F.3d at 1559-60 (citations omitted).

In a separate portion of its analysis, the First Circuit also said that the Reves standard for
Section 1962(c) liability may be satisfied where plaintiff alleges that defendant(s) “exerted
control over the enterprise, if not by bribery . . ., then at least by other methods of inducement.”
43 F.3d at 1560. But contrary to Defendants’ assertion, the First Circuit did not state or imply

that this was the only way to satisfy Reves, and the portion of First Circuit’s opinion reproduced

“operation or management” test applies only to RICO defendants who are “outsiders.” See United States v. Owens,
167 F.3d 739, 754 (Ist Cir. 1999) (“Reves’s analysis does not apply where a party is determined to be inside a RICO
enterprise.”), and cases cited therein. Where (as here) the Complaint alleges that the Defendants were members of
the alleged association-in-fact enterprises, the Reves standard for Section 1962(c) simply does not apply. See
George Lussier Enters. v. Subaru of New Eng., Inc., 2000 U.S. Dist. Lexis 1080, at *12 n.6 (D.N.H. Jan. 13, 2000);
see also MCM Partners, 62 F.3d at 979 (defendants were alleged to be “part of the enterprise itself’); accord
Emcore Corp. v. PricewaterhouseCoopers LLP, 102 F. Supp. 2d 237, 263 (D.N.J. 2000). See generally G. Robert
Blakey & Kevin P. Roddy, Reflections on Reves v. Ernst & Young: Its Meaning and Impact on Substantive,
Accessory, Aiding and Abetting and Conspiracy Liability Under RICO, 33 AMER. CRIM. L. REV. 1345, 1481-83
(1996).

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above makes this clear. Compare Reves, 43 F.3d at 1559-60 with Defs. Reply Mem. at 11-12.
Thus, in Liberty Mut. Ins. Co. v. Diamante, 138 F. Supp. 2d 47 (D. Mass. 2000), a reported case
from this District cited by Plaintiffs but ignored by Defendants, Chief Magistrate Judge Collings
refused to dismiss civil RICO claims brought by insurance companies against attorneys (and
others) who submitted false claims that the plaintiff insurance companies paid.® Relying on his
earlier unpublished decision in Metropolitan Prop. & Cas. Ins. Co. v. Uong, Civil Action No. 98-
11185-RCL (D. Mass. Feb. 26, 1999),” Chief Magistrate Judge Collings refused to dismiss the
insurers’ claims, even though there was no allegation that their employees had been

compromised by defendants’ payment of bribes or other inducements:

It is not a sine qua non of liability that an employee of the innocent
enterprise be a knowing participant in the racketeering activity. It
appears that the Court of Appeals for the Eleventh Circuit has so
read the Aetna case by summarizing its holding as follows:

Outsiders may exert control over an enterprise’s affairs through
illegal means sufficient to satisfy Reves’ requirements. [citing
Aetna and] United States v. Castro, 89 F.3d 1443, 1452, n.5 (11
Cir., 1996).

To repeat, although I admit the matter is not free from doubt, it
does not appear “...beyond doubt that the plaintiffs] can prove not
set of facts in support of [its innocent enterprise] claims,” that the
defendants, including Cutler, participated in the operation or
management of the plaintiffs through a pattern of racketeering
activity by submitting fraudulent claims which the plaintiffs would
not have paid were it not for the activity. Evidence that corrupted
employees of the plaintiffs were involved is not required.

Liberty Mutual, 138 F. Supp. 2d at 61 (citation omitted). Thus, Plaintiffs respectfully submit that
Defendants are deliberately misreading the First Circuit’s decision in Aetna, 43 F.3d at 1559-60,

and that Plaintiffs’ allegations are more than sufficient to satisfy Reves.

* Chief Magistrate Judge Collings’ Report and Recommendation was accepted by Judge Lindsay on March 1,
2001. See Liberty Mut. Ins. Co. v. Diamante, 138 F. Supp. 2d 47 (D. Mass. 2001).

* As Chief Magistrate Judge Collings noted, his Report and Recommendation in Metropolitan Property was
approved by Judge Lindsay on March 25, 1999. See Liberty Mutual, 138 F. Supp. 2d at 60 n.18.

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C. Plaintiffs Properly Allege RICO Causation

Section 1964(c) of RICO imposes a standing requirement under which plaintiffs seeking
remedies for violations of Section 1962(c) must allege that defendants’ racketeering activities
caused injury to plaintiffs’ business or property. See 18 U.S.C. § 1964(c); Sedima, S.P.R.L. v.
Imrex Co., 473 U.S. 479, 495-97 (1985); Camelio v. American Fed’n, 137 F.3d 666, 669-70 (Ist
Cir. 1998). Plaintiffs’ standing to sue depends on a finding that at least one of defendants’
predicate acts of racketeering activity was the proximate cause, as well as the but-for (or factual)
cause of plaintiffs’ injuries. See Holmes v. Securities Investor Prot. Corp., 503 U.S. 258, 268
(1992). “At the pleading stage, however, general factual allegations that the plaintiff suffered
injury as a result of the defendant’s conduct are sufficient to satisfy [RICO’s] standing
requirement.” George Lussier Enters., 2000 U.S. Dist. Lexis 1080, at *33 (citing National Org.
for Women, Inc. v. Scheidler, 510 U.S. 249, 256 (1994)).

Defendants, however, take great issue with Plaintiffs’ allegations of RICO standing,
contending that Plaintiffs have failed to properly plead causation. Compare Defs. Reply Mem. at
12-14 with Plaintiffs’ Opp. Mem. at 37-39. Defendants particularly castigate Plaintiffs for
reliance upon Judge Wolf’s thorough discussion of the RICO causation issue in Sebago, Inc. v.
Beazer East, Inc., 18 F. Supp. 2d 70, 81-85 (D. Mass. 1998)."° As previously stated, in Sebago
the plaintiffs were commercial property owners in Maine and Massachusetts that alleged that
their predecessor-in-interest and/or building contractor had relied upon defendants’
representations when installing defective insulation in the buildings’ roofs. In that class action,
plaintiffs sought to represent a nationwide class of building owners with similar claims against
defendants. /d. at 77-78.

On defendants’ motions to dismiss the civil RICO claims, Judge Wolf held that (i) the

plaintiff building owners had properly alleged RICO causation, even though the plaintiffs had

'° Defendants assert that this portion of Judge Wolf’s opinion in Sebago is not about RICO causation, see Defs.
Reply Mem. at 14 n.12, even though the relevant heading in the district court’s opinion reads: “The Plaintiffs
Adequately Allege Causation.” 18 F. Supp. 2d at 81 (emphasis added).

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not “relied” on defendants’ alleged misrepresentations (i.e., the alleged predicate acts of mail
fraud), see id. at 81-82; (ii) the plaintiffs, not their predecessors-in-interest or their building
contractors, were “directly injured” by defendants’ scheme to defraud because they were the
ones that had sustained financial damage, see id. at 83-84;'! and (iii) “it is for a jury [to] apply
the law of proximate causation and decide whether the plaintiffs were in the zone of foreseeable
plaintiffs and whether the defendants’ actions were a substantial factor in causing the plaintiffs’
harm.” /d. at 85.

Contrary to Defendants’ contentions, Judge Wolf’s analysis and conclusions regarding
RICO causation in Sebago are squarely on point and should be adopted by this Court. Just like
the plaintiff property owners in Sebago, who were “indirect purchasers” of the allegedly
defective siding from the defendant manufacturers, Plaintiffs here do not “directly” purchase
Covered Drugs from Defendants. In Sebago, the alleged false and misleading representations
were not made directly to the plaintiff property owners; rather, such misrepresentations were
made by the insulation manufacturers and distributors to plaintiffs’ predecessors-in-interest
and/or building contractors. The same thing is true here. Under the facts presented in Sebago,
one could say that the property owners’ predecessors-in-interest or building contractors who had
installed the defective insulation materials were “intervening” causes. In Sebago, Judge Wolf

addressed each of the issues raised by Defendants here and resolved them in Plaintiffs’ favor.

'! Defendants claim that it is insufficient for Plaintiffs to allege that they “were a target or even the intended
victim of the alleged scheme.” Defs. Reply Mem. at 12 (footnote omitted). But in Sebago, 18 F. Supp. 2d at 84 &
n.6, Judge Wolf reached the opposite conclusion, relying on Judge Posner’s decision in In re EDC, Inc., 930 F.2d
1275 (7th Cir. 1991). In that case, the Seventh Circuit stated that “[t]he general rule in fraud cases . . . is that you are
liable only to an intended victim.” However, “{o]ne can be an intended victim without being the primary victim.”

Id. at 1279. Judge Posner illustrated this principle with the following hypothetical:

Suppose you blow up a plane carrying X and Y in order to kill X. If both die in the explosion,
you are just as much Y's murderer as X's, not because of the fiction of transferred intent but
because you knew that Y (or any other person who might be a passenger on the plane) would die if
your plot against X succeeded. It is not a transferred-intent case because nothing went wrong with
your plan; it is a case of extreme recklessness, equated to deliberateness. You killed Y for an
ulterior motive, it is true, but most murders have ulterior motives.

EDC, 930 F.2d at 1279 (citations omitted). After quoting this portion of the Seventh Circuit’s decision, Judge Wolf
stated that “assuming the truth of the plaintiffs’ allegations for the purposes of the motions to dismiss, the plaintiffs
are among the intended victims of the defendants’ alleged fraudulent scheme because the plaintiffs are the owners of
the buildings that the [defective insulation] has allegedly damaged.” Sebago, 18 F. Supp. 2d at 84 (citing EDC).

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Under Section 1964(c) of RICO, it is the Plaintiffs in this case that have been injured in their
business or property and, as Judge Wolf recognized in that case, see 18 F. Supp. 2d at 83-84, it is
Plaintiffs who can “act as private attorneys general to vindicate the law.” Jd. at 83.

To the same effect is George Lussier Enterprises, 2000 U.S. Dist. Lexis 1080 at *35. In
that case, the plaintiff Subaru dealers alleged that they relied upon fraudulent representations that
the defendant distributor (SNE) and its sole shareholder (Boch) made about the vehicle
allocation system when they decided to enter into dealership agreements. They further alleged
that the distributor’s fraudulent scheme caused them to suffer lost profits and a diminishment in
the value of their dealerships. /d. at *34. Refusing to dismiss one of the plaintiff dealers’ civil

RICO claims on standing grounds, Chief Judge Barbadoro stated in relevant part:

Based on these allegations, I conclude that the dealers have

pleaded sufficient facts to establish the causal connection required

for standing. The complaint, read in the light most favorable to the

dealers, alleges that the dealers’ property and/or businesses were

injured, and that Boch’s racketeering activities were both the

proximate and factual cause of those injuries. Nothing more is

required at this stage of the litigation.
Id. at *35. Given the detailed allegations of the MCC, this Court should reach the same
conclusion in this case and should reject Defendants’ challenges to plaintiffs’ RICO standing
allegations.

Moreover, Defendants overlook many decisions where courts have found that
racketeering conduct can be directed at more than one person or entity. See, e.g., NOW v.
Scheidler, 510 U.S. 249, 255-56 (1994) (clinics have standing to sue for force directed toward
clinic staff and patients; court noted that “at the pleading stage, general factual allegations of
injury resulting from the defendant's conduct may suffice, for on a motion to dismiss we presume
that general allegations embrace those specific facts that are necessary to support the claim.”)
(quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 561, 119 L. Ed. 2d 351, 112 S. Ct. 2130
(1992)); In re EDC, Inc., 930 F.2d 1275, 1279 (7" Cir. 1991) (fraud on Pension Benefit

Guarantee Corporation, the primary target, cognizable in suit by creditor, if secondary target); J

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& M Turner, Inc. v. Applied Bolting Tech. Prods, 1997 U.S. Dist. LEXIS 1835, *24-37 (E.D. Pa.
1997) (RICO) (corporation possesses standing to sue for false statements made to customers and
prospective customers); Teamsters Local 372 v. Detroit Newspapers, 956 F. Supp. 753, 765
(E.D. Mich. 1997) (corporation had standing under RICO to sue for violence directed to third
parties during strike); Jerry Kubecka, Inc. v. Avellino, 898 F. Supp. 963, 968-969 (E.D.N.Y.
1995) (corporation has standing under RICO to sue for homicide of executives of corporation).
Under such circumstances, an injured entity may sue under RICO so long as it was a target of
defendants’ actions.

Here, throughout the MCC, Plaintiffs have alleged that they and the Class members were
targeted by Defendants’ fraudulent scheme. See, e.g., | 3 (“The AWPs for these drugs are
deliberately false and fictitious and created solely to cause Plaintiffs and the Class members to
overpay for drugs.”); J 138 (‘Plaintiffs and the members of the Class paid for the drugs based on
an in reliance on the inflated AWPs reported by the Defendant Drug Manufacturers.”’); 4 139
(“The Defendant Drug Manufacturers’ pattern of fraudulent conduct in artificially inflating the
AWPs for their drugs (sometimes referred to herein as the ‘A WP Scheme’) directly caused
Plaintiffs and the members of the Class to substantially overpay for those drugs.”); 329
(“Plaintiffs are directly damaged by Defendants’ fraudulent AWP pricing schemes because
Plaintiffs frequently are required to make a co-payment for a Covered Drug or a brand name
drug, or because such Plaintiffs occasionally make payment in full, and their payments are based
on inflated AWPs.”); {f 330-32; { 367-69, 394-96, 421-23, 448-50. Because Plaintiffs and the
members of the Class were the target of Defendants’ racketeering activities, Defendants cannot
now complain that the injuries were “indirect.”

Indeed, even Defendants’ leading case, Holmes v. Securities Investor Protection
Corporation, does not bar Plaintiffs’ claim here. In Holmes, 503 U.S. at 265-68, the plaintiff
Securities Investor Protection Corporation (SIPC) alleged that defendants had conspired in a

fraudulent stock manipulation scheme that disabled brokers from meeting obligations to their

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customers. As a result, SIPC was forced under its statutory duty to reimburse the broker’s
customers. The Holmes court found that the broker-dealers, and not the SIPC, suffered “direct”
injury and therefore had standing to sue under 18 U.S.C. § 1964(c); the injuries suffered by the
SIPC was too remote because damage to it was purely contingent on the harm suffered by the
broker-dealers. /d. at 271-72. (In contrast here, Plaintiffs’ injuries are not contingent on the
harm suffered by another party; they have been directly injured.)

Significantly, the Holmes court recognized that the result would be different if the
allegations were that the defendants had engaged in a “parking scam” that targeted both the
broker-dealers and their insurer; under those circumstances, “the broker-dealers’ customers
might be proximately injured by these offenses,” and the SIPC would be able to sue. Id. at 272,
n. 19 (citing Taffet v. Southern Co., 930 F.2d 847, 856-57 (1 1" Cir. 1991); County of Suffolk v.
Long Island Lighting Co., 907 F.2d 1295, 1311-12 (2"4 Cir. 1990). Both of these cases cited by
the Supreme Court held that customers of defrauded utilities had standing to sue for the
overcharges that were passed on to them even though those customers were not the “direct”
victims of the fraud. The Supreme Court thus recognized that its “direct” causation requirement
was not to be inflexibly applied. See also Holmes, 503 U.S. at 274 at n. 20 (“the infinite variety
of claims that may arise make it virtually impossible to announce a black-letter rule that will
dictate the result in every case.”) (citation omitted).

There can be no question that Defendants targeted Plaintiffs and the Class every bit as
much as Defendants targeted the federal government because Defendants knew that Plaintiffs
and the members of the Class would be primary payors of the inflated drug charges (whether
paying all of the costs or a portion thereof); after all, Defendants would not have engaged in the

activity alleged in the MCC if they did not believe that their scams would succeed.

D. Plaintiffs Plead Fraud With The Particularity Required By Rule 9(b)
Defendants continue to refuse to acknowledge the need to read Rule 9(b) in conjunction

with Rule 8(a). This Court recognized in United States ex rel. Franklin v. Parke-Davis, 147 F.

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Supp. 2d 39, 46 (D. Mass. 2001), that Rule 9(b) serves to enable defendants to fully prepare a
defense to charges of fraud, and to gate-keep against “conclusory allegations” and “fishing
expeditions.” Importantly, this Court reasoned that “t]he requirements of Rule 9(b) . . . must be
read in conjunction with Fed. R. Civ. P. 8(a),” which requires only a “short and plain statement
of the claim.” Jd. at 46. This Court noted that while a plaintiff “must allege the circumstances of
the fraud, he is not required to plead all of the evidence or facts supporting it.” Jd. at 46-47.

In a more recent decision, Judge Zobel stated: “if the complaint provides a ‘general
description of the personal sources of plaintiffs’ beliefs,’ the pleading requirement is met.” Jn re
Xcelera.com Sec. Litig., 2002 U.S. Dist. Lexis 7400 at *8 (D. Mass. Mar. 8, 2002) (citing Fitzer
v. Security Dynamics Techs., 119 F. Supp. 2d 12, 22 (D. Mass. 2000)). Finding that the

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complaint was “not merely based on ‘bald assertions’ and ‘general illusions,” the court denied
the motion to dismiss, id. the court held that the Complaint met the Rule 9(b) standard, because,
inter alia, the Complaint cited to nine investigative sources and identified and quoted from
“supporting documentation to buttress their allegations.” /d. at *8.

Here, Plaintiffs more than amply meet the requirements of Rule 9(b) as discussed in
Xcelera.com Securities. Plaintiffs cite to, identify and quote from more than 60 sources, many of
which are internal documents prepared by defendants touting AWP manipulation. Thus, the
MCC is in large part a direct recitation of defendants’ implementation of the AWP scheme. See,
é.g., FF 135-312.

Defendants complain that plaintiffs have failed to meet Rule 9(b) with respect to the
Class 2 PBM allegations, citing three “problems” with the PBM-related allegations: (i) lack of
particulars of how the “alleged duping of Medicare extended to include non-Medicare drugs;”
(ii) the alleged failure to identify any non-Medicare drugs; and (iii) failure to identify any PBM
or other intermediary. Defs. Reply Mem. at 15-16. Each of these arguments is wholly without

merit.

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First, the MCC clearly explains how defendants’ AWP manipulation directly affects
anyone that pays for prescription drugs based on inflated AWPs. 5-7, 166-172. The MCC
describes how, for brand name drugs administered outside the Medicare Part B context,
Defendants specifically marketed the inflated AWP, the price on which Plaintiffs’ payments are
based, to PBMs and other intermediaries in order to induce them to place those drugs on their
formularies. The MCC alleges that this scheme incentivizes intermediaries to place drugs on
formularies based on their desire to increase their profitability. Plaintiffs allege that PBMs and
other intermediaries through which drugs were transferred to Plaintiffs and the Class thus
pocketed the spread between AWP and the actual cost that they paid for those brand name drugs.
495, 166-172.

Second, Defendants try to draw a distinction between Medicare and non-Medicare drugs.
There is no such thing. In fact, for each drug cited in the MCC as having an inflated AWP, of
which there are over 100,'* Defendants not only conned the government but also caused the
members of Class 2 to overpay.

Finally, Defendants claim that plaintiffs failed to specifically identify any PBMS or other
intermediaries that were incentivized by the AWP scheme. Defendants cannot seriously claim
that this alleged “deficiency” prevents them from fully preparing their defense to the charges of
fraud. See Parke-Davis, 147 F. Supp. 2d at 46. In fact, much of the internal correspondence
quoted in the Defendant-specific allegations demonstrates that it is peculiarly within the
Defendants’ knowledge which intermediaries they worked to incentivize by inflating AWPs.
See, €.g., FF 213, 215, 220, 242, 262-275, 277-81, 297, 320.

Several individual defendants, including Abbott, Amgen, Baxter, Johnson & Johnson,
SICOR, Warrick, and Immunex, inter alia, also filed individual briefs, asserting that Plaintiffs

failed to meet Rule 9(b)’s particularity requirements. These arguments are also misplaced.

"2 These 100 were included as examples of the 479 drugs, for which the DOJ found inflated AWPs.

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Abbott erroneously suggests that United States ex rel. Gublo v. Novacare, Inc., 62 F.
Supp. 2d 347 (D. Mass. 1999), is directly on point. Abbott Mtn. at 3. In Novacare, this Court
dismissed the complaint due to plaintiff's failure to cite a regulation that required the defendant,
a provider of orthotics and prosthetics, to “factor discounts given to private insurers into the
determination of its ‘actual charges’ for government billing purposes.” Novacare, Inc., 62 F.
Supp. 2d at 354. The Novacare defendant allegedly engaged in an offsetting pricing practice by
charging providers 25% less than the Medicare reimbursement amount. /d. Ultimately, the Court
concluded that the allegations of overbilling Medicare for prosthetics did not meet Rule 9(b)
pleading standards, particularly where the plaintiffs failed to cite “a single instance of a false
claim.” Id.

In contrast, the fraud challenged here is Defendants’ reporting of false and grossly
inflated AWPs to pharmaceutical compendia in order to manipulate reimbursements of
prescription drugs. J 184-90. The plaintiffs in NovaCare merely claimed that the “actual
charge” used for government reimbursement served to compensate providers for the 20%
Medicare discount, whereas here Defendants’ inflation scheme goes far beyond simple
“offsetting” issues.

As exhibited in the MCC, most instances of AWP inflation resulted in grossly wide
spreads between the published AWPs and the actual AWPs. § 190. For example, Abbott’s 2001
Red Book AWP for vancomycin hydrochloride was $382.14, and the DOJ determined the actual
AWP for that same product to be $4.98. 9 190. The 7,574% spread, used to incentivize
providers to administer the drugs and thereby increase sales and market share, clearly exceeds
the NovaCare defendant’s offsetting practices. Moreover, the vancomycin spread is only one of
several examples of AWP inflation by Abbott included in the MCC, thereby satisfying the
particularity requirements of Rule 9(b). 4 190. Thus, though this Court found that the NovaCare
plaintiffs failed to cite to a single false claim, Plaintiffs here have cited dozens with respect to all

Defendants, and at least sixteen with respect to Abbott. See ff] 190-328.

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With respect to Amgen, Plaintiffs allege that Amgen, as the sole manufacturer of
filgrastram and one of two sources for epoetin alpha, reported fraudulently inflated AWPs for
both drugs to the Red Book. § 192. Plaintiffs further point out that the GAO reported that
epoetin alfa accounted for the second highest percentage of Medicare expenditures on drugs in
1999, which clearly resulted in excessive overpayments. § 193. These allegations are
straightforward and particular, meet the requirements of Rule 9(b) and sufficiently enable
Amgen to prepare a defense pursuant to Parke-Davis.

Baxter claims that neither the Opposition nor the MCC distinguish the roles of the
defendants in the alleged wrongdoing. Baxter Mtn. at 2. On the contrary, the MCC sets out
Baxter’s specific fraudulent conduct, as distinguished from each of the other defendants. See
{| 212-19. Not only does the MCC include a chart of specific drugs for which Baxter artificially
inflated AWPs, it (i) includes the exact percentage spread between Baxter’s AWPs and the DOJ
determined actual AWPs; (ii) describes a report published by the DHHS documenting the DOJ’s
findings that Baxter’s AWPs for certain drugs were substantially higher than actual prices listed
by wholesalers, and (iii) transcribes internal Baxter documents that reference Baxter’s AWP
manipulation. J§ 212-19. Thus, Baxter’s argument that the MCC fails to particularize its role in
the fraud is without merit, and easily refuted by the allegations of the MCC.

As to the Johnson & Johnson Group (“J&J’), the MCC includes specific allegations, as
document by federal investigations, of J&J’s fraudulently reported AWPs for epoetin alfa. See
4 294. Moreover, J&J is one of only two manufacturers of this drug, which accounts for 9.5% of
overall Medicare prescription drug spending. 4 295.'? The MCC also alleges that J&J continued
to overstate the AWP for Remicade while simultaneously marketing to providers the availability
of inflated payments by Medicare. § 296. The MCC contains a specific explanation of how J&J
markets the scheme by demonstrating that providers who prescribe the drug will gain significant

profits from the Medicare overpayment. {] 296-97. In short, it is impossible to conceive of how

'3 This conduct is even more egregious, as noted in the MCC, given that the federal government originally
underwrote research and development of epoetin alfa. Id.

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